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                        IN THE UNITED STATES BANKRUPTCY COURT

                                FOR THE DISTRICT OF DELAWARE


In re:                                                         )        Chapter 11
                                                               )
RTI HOLDING COMPANY, LLC,1                                     )        Case No. Case No. 20-12456 (JTD)
                                                               )
                                    Debtors.                   )        (Jointly Administered)
                                                               )

          GLOBAL NOTES AND STATEMENT OF LIMITATIONS,
METHODOLOGY, AND DISCLAIMERS REGARDING THE DEBTORS’ SCHEDULES
  OF ASSETS AND LIABILITIES AND STATEMENTS OF FINANCIAL AFFAIRS

       RTI Holding Company, LLC, and certain of its affiliates, as debtors and debtors in
possession in the above-captioned chapter 11 cases (the “Debtors”), have filed their respective
Schedules of Assets and Liabilities (the “Schedules”) and Statements of Financial Affairs (the
“Statements”) in the United States Bankruptcy Court for the District of Delaware (the
“Bankruptcy Court”). The Debtors, with the assistance of their legal and financial advisors,
prepared the Schedules and Statements in accordance with section 521 of chapter 11 of title 11 of
the United States Code (the “Bankruptcy Code”), Rule 1007 of the Federal Rules of Bankruptcy
Procedure, and Rule 1007-1 of the Local Rules of Bankruptcy Practice and Procedure of the
United States Bankruptcy Court for the District of Delaware.


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   The Debtors in these chapter 11 cases and the last four digits of each Debtor’s U.S. tax identification number are
as follows: RTI Holding Company, LLC (4966); Ruby Tuesday, Inc. (5239); Ruby Tuesday, LLC (1391); RTBD,
LLC (6505); RT of Carroll County, LLC (8836); RT Denver Franchise, L.P. (2621); RT Detroit Franchise, LLC
(8738); RT Distributing, LLC (6096); RT Finance, LLC (7242); RT FL Gift Cards, Inc. (2189); RT Florida Equity,
LLC (7159); RT Franchise Acquisition, LLC (1438); RT of Fruitland, Inc. (1103); RT Indianapolis Franchise, LLC
(6016); RT Jonesboro Club (2726); RT KCMO Franchise, LLC (7020); RT Kentucky Restaurant Holdings, LLC
(7435); RT Las Vegas Franchise, LLC (4969); RT Long Island Franchise, LLC (4072); RT of Maryland, LLC
(7395); RT Michiana Franchise, LLC (8739); RT Michigan Franchise, LLC (8760); RT Minneapolis Franchise,
LLC (2746); RT Minneapolis Holdings, LLC (7189); RT New England Franchise, LLC (4970); RT New Hampshire
Restaurant Holdings, LLC (7438); RT New York Franchise, LLC (1154); RT Omaha Franchise, LLC (7442); RT
Omaha Holdings, LLC (8647); RT One Percent Holdings, LLC (6689); RT One Percent Holdings II, LLC (2817);
RT Orlando Franchise, LP (5105); RT Restaurant Services, LLC (7283); RT South Florida Franchise, LP (3535);
RT Southwest Franchise, LLC (9715); RT St. Louis Franchise, LLC (6010); RT Tampa Franchise, LP (5290); RT
Western Missouri Franchise, LLC (6082); RT West Palm Beach Franchise, LP (0359); RTTA, LP (0035); RTT
Texas, Inc. (2461); RTTT, LLC (9194); Ruby Tuesday of Allegany County, Inc. (8011); Ruby Tuesday of Bryant,
Inc. (6703); Ruby Tuesday of Columbia, Inc. (4091); Ruby Tuesday of Frederick, Inc. (4249); Ruby Tuesday of
Linthicum, Inc. (8716); Ruby Tuesday of Marley Station, Inc. (1641); Ruby Tuesday of Pocomoke City, Inc. (0472);
Ruby Tuesday of Russellville, Inc. (1601); and Ruby Tuesday of Salisbury, Inc. (5432). The Debtors’ mailing
address is 333 East Broadway Ave., Maryville, TN 37804.

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        Shawn Lederman has signed each set of the Schedules and Statements. Mr. Lederman
serves as the Chief Executive Officer of the Debtors. In reviewing and signing the Schedules
and Statements, Mr. Lederman has necessarily relied upon the efforts, statements, and
representations of the Debtors’ other personnel and professionals. Given the scale of the
Debtors’ business and the number of stores covered by the Schedules and Statements, Mr.
Lederman has not (and could not have) personally verified the accuracy of each such statement
and representation, including statements and representations concerning amounts owed to
creditors.

        In preparing the Schedules and Statements, the Debtors relied on financial data derived
from their books and records that was available at the time of such preparation. Although the
Debtors have made every reasonable effort to ensure the accuracy and completeness of the
Schedules and Statements, subsequent information or discovery may result in material changes
to the Schedules and Statements. As a result, inadvertent errors or omissions may exist. For the
avoidance of doubt, the Debtors hereby reserve their rights to amend and supplement the
Schedules and Statements as may be necessary or appropriate.

        The Debtors and their agents, attorneys, and financial advisors do not guarantee or
warrant the accuracy or completeness of the data that is provided herein, and shall not be liable
for any loss or injury arising out of or caused in whole or in part by the acts, errors, or omissions,
whether negligent or otherwise, in procuring, compiling, collecting, interpreting, reporting,
communicating, or delivering the information contained herein. While commercially reasonable
efforts have been made to provide accurate and complete information herein, inadvertent errors
or omissions may exist. The Debtors and their agents, attorneys, and financial advisors expressly
do not undertake any obligation to update, modify, revise, or re-categorize the information
provided herein, or to notify any third party should the information be updated, modified,
revised, or re-categorized, except as required by applicable law. In no event shall the Debtors or
their officers, employees, agents, or professionals be liable to any third party for any direct,
indirect, incidental, consequential, or special damages (including, but not limited to, damages
arising from the disallowance of a potential claim against the Debtors or damages to business
reputation, lost business, or lost profits), whether foreseeable or not and however caused, even if
the Debtors or their officers, employees, agents, attorneys, or their professionals are advised of
the possibility of such damages.

                          Global Notes and Overview of Methodology

1.      Description of Cases. On October 7, 2020, (the “Petition Date”), each of the Debtors
        filed voluntary petitions for relief under chapter 11 of the Bankruptcy Code. The Debtors
        are operating their businesses and managing their property as debtors in possession
        pursuant to sections 1107(a) and 1108 of the Bankruptcy Code. On October 8, 2020, an
        order was entered directing procedural consolidation and joint administration of these
        chapter 11 cases [Docket No. 68]. Notwithstanding the joint administration of the
        Debtors’ cases for procedural purposes, each Debtor has filed its own Schedules and
        Statements. The information provided herein, except as otherwise noted, is reported as of
        the Petition Date.

2.      Global Notes Control. These Global Notes pertain to and comprise an integral part of

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        each of the Debtors’ Schedules and Statements and should be referenced in connection
        with any review thereof. In the event that the Schedules and Statements conflict these
        Global Notes, these Global Notes shall control.

3.      Reservations and Limitations. Reasonable efforts have been made to prepare and file
        complete and accurate Schedules and Statements; however, as noted above, inadvertent
        errors or omissions may exist. The Debtors reserve all rights to amend and supplement
        the Schedules and Statements as may be necessary or appropriate. Nothing contained in
        the Schedules and Statements constitutes a waiver of any of the Debtors’ rights or an
        admission of any kind with respect to these chapter 11 cases, including, but not limited
        to, any rights or claims of the Debtors against any third party or issues involving
        substantive consolidation, equitable subordination, or defenses or causes of action arising
        under the provisions of chapter 5 of the Bankruptcy Code or any other relevant applicable
        bankruptcy or non-bankruptcy laws to recover assets or avoid transfers. Any specific
        reservation of rights contained elsewhere in the Global Notes does not limit in any
        respect the general reservation of rights contained in this paragraph.

        a.         No Admission. Nothing contained in the Schedules and Statements is intended or
                   should be construed as an admission or stipulation of the validity of any claim
                   against the Debtors, any assertion made therein or herein, or a waiver of the
                   Debtors’ rights to dispute any claim or assert any cause of action or defense
                   against any party.

        b.         Recharacterization. Notwithstanding that the Debtors have made reasonable
                   efforts to correctly characterize, classify, categorize, or designate certain claims,
                   assets, executory contracts, unexpired leases, and other items reported in the
                   Schedules and Statements, the Debtors nonetheless may have improperly
                   characterized, classified, categorized, or designated certain items. The Debtors
                   thus reserve all rights to recharacterize, reclassify, recategorize, or redesignate
                   items reported in the Schedules and Statements at a later time as is necessary and
                   appropriate.

        c.         Classifications. Listing (i) a claim on Schedule D as “secured,” (ii) a claim on
                   Schedule E/F as “priority” or “unsecured,” or (iii) a contract on Schedule G as
                   “executory” or “unexpired” does not constitute an admission by the Debtors of the
                   legal rights of the claimant or contract counterparty, or a waiver of the Debtors’
                   rights to recharacterize or reclassify such claim or contract.

        d.         Claims Description. Any failure to designate a claim on a given Debtor’s
                   Schedules and Statements as “disputed,” “contingent,” or “unliquidated” does not
                   constitute an admission by the Debtor that such amount is not “disputed,”
                   “contingent,” or “unliquidated.” The Debtors reserve all rights to dispute, or
                   assert offsets or defenses to, any claim reflected on their respective Schedules and
                   Statements on any grounds, including, without limitation, liability or
                   classification, or to otherwise subsequently designate such claims as “disputed,”
                   “contingent,” or “unliquidated” or object to the extent, validity, enforceability,


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                   priority, or avoidability of any claim. Moreover, listing a claim does not
                   constitute an admission of liability by the Debtor against which the claim is listed
                   or by any of the Debtors. The Debtors reserve all rights to amend their Schedules
                   and Statements as necessary and appropriate, including, but not limited to, with
                   respect to claim description and designation.

        e.         Estimates and Assumptions. The preparation of the Schedules and Statements
                   required the Debtors to make reasonable estimates and assumptions with respect
                   to the reported amounts of assets and liabilities, the amount of contingent assets
                   and contingent liabilities on the date of the Schedules and Statements, and the
                   reported amounts of revenues and expenses during the applicable reporting
                   periods. Actual results could differ from such estimates.

        f.         Intellectual Property Rights. Exclusion of certain intellectual property should
                   not be construed to be an admission that such intellectual property rights have
                   been abandoned, have been terminated or otherwise expired by their terms, or
                   have been assigned or otherwise transferred pursuant to a sale, acquisition, or
                   other transaction. Conversely, inclusion of certain intellectual property should not
                   be construed to be an admission that such intellectual property rights have not
                   been abandoned, have not been terminated or otherwise expired by their terms, or
                   have not been assigned or otherwise transferred pursuant to a sale, acquisition, or
                   other transaction.

        g.         Insiders. The listing of a party as an insider for purposes of the Schedules and
                   Statements is not intended to be, nor should it be, construed an admission of any
                   fact, right, claim, or defense, and all such rights, claims, and defenses are hereby
                   expressly reserved. Information regarding the individuals listed as insiders in the
                   Schedules and Statements has been included for informational purposes only and
                   such information may not be used for the purposes of determining control of the
                   Debtors, the extent to which any individual exercised management responsibilities
                   or functions, corporate decision-making authority over the Debtors, or whether
                   such individual could successfully argue that he or she is not an insider under
                   applicable law, including the Bankruptcy Code and federal securities laws, or
                   with respect to any theories of liability or any other purpose.

                   In the circumstance where the Schedules and Statements require information
                   regarding “insiders”, the Debtors have included information with respect to the
                   individuals who the Debtors believe are included in the definition of “insider” set
                   forth in section 101(31) of the Bankruptcy Code during the relevant time periods.

4.      Methodology.

        a.         Basis of Presentation. The Schedules and Statements do not purport to represent
                   financial statements prepared in accordance with Generally Accepted Accounting
                   Principles in the United States (“GAAP”), nor are they intended to be fully
                   reconciled to the financial statements of each Debtor. The Schedules and


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                   Statements contain unaudited information that is subject to further review and
                   potential adjustment. The Schedules and Statements reflect the Debtors’
                   reasonable efforts to report the assets and liabilities of each Debtor on an
                   unconsolidated basis except as noted on the applicable Schedules/Statements or
                   herein.

        b.         Duplication. Certain of the Debtors’ assets, liabilities, and prepetition payments
                   may properly be disclosed in response to multiple parts of the Statements and
                   Schedules. To the extent these disclosures would be duplicative, the Debtors have
                   determined to only list such assets, liabilities and prepetition payments once.

        c.         Net Book Value. In certain instances, current market valuations for individual
                   items of property and other assets are neither maintained by, nor readily available
                   to, the Debtors. Accordingly, unless otherwise indicated, the Debtors’ Schedules
                   and Statements reflect estimates of net book values as of the Petition Date.
                   Market values may vary, at some times materially, from net book values. It
                   would be prohibitively expensive, unduly burdensome, and an inefficient use of
                   estate assets for the Debtors to obtain the current market values of all their
                   property. Accordingly, the Debtors have indicated in the Schedules and
                   Statements that the values of certain assets and liabilities are undetermined.
                   Amounts ultimately realized may vary materially from net book value (or
                   whatever value was ascribed). Accordingly, the Debtors reserve all rights to
                   amend, supplement or adjust the asset values set forth herein. Also, assets that
                   have been fully depreciated or that were expensed for accounting purposes either
                   do not appear in these Schedules and Statements or are listed with a zero-dollar
                   value, as such assets have no net book value.

        d.         Property and Equipment. Unless otherwise indicated, owned property and
                   equipment are valued at net book value. The Debtors may lease furniture,
                   fixtures, and equipment from certain third-party lessors. To the extent possible,
                   any such leases are listed in the Schedules and Statements. Nothing in the
                   Schedules and Statements is, or should be construed as, an admission as to the
                   determination of the legal status of any lease (including whether any lease is a
                   true lease or a financing arrangement), and the Debtors reserve all rights with
                   respect thereto.

        e.         Consolidated Accounts Payable and Disbursements System. The Debtors use
                   a cash management system to collect funds from their operations and to pay
                   operating and administrative expenses (the “Cash Management System”). The
                   Cash Management System allows the Debtors to collect and transfer efficiently
                   the cash generated by their business and pay their financial obligations. The Cash
                   Management System has been in place for more than 10 years and is similar to
                   those utilized by other corporate enterprises to collect, concentrate and disburse
                   funds generated by numerous operating entities in a cost-effective and orderly
                   manner. The Cash Management System is carefully managed through oversight
                   procedures implemented by the Debtors’ financial and accounting personnel.


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                   The Cash Management System generally consists of a series of “zero-balance”
                   accounts that sweep, each business day, into a main concentration account
                   maintained by debtor Ruby Tuesday Inc. at Regions Financial Corporation.

        f.         Allocation of Liabilities. The Debtors allocated liabilities between the
                   prepetition and postpetition periods based on the information and research
                   conducted in connection with the preparation of the Schedules and Statements.
                   As additional information becomes available and further research is conducted,
                   the allocation of liabilities between the prepetition and postpetition periods may
                   change.

        g.         Undetermined Amounts. The description of an amount as “unknown” is not
                   intended to reflect upon the materiality of such amount.

        h.         Unliquidated Amounts. Amounts that could not be fairly quantified by the
                   Debtors are scheduled as “unliquidated” or “unknown.”

        i.         Totals. All totals that are included in the Schedules and Statements represent
                   totals of all known amounts. To the extent there are unknown or undetermined
                   amounts, the actual total may be different than the listed total.

        j.         Paid Claims. The Debtors have authority to pay certain outstanding prepetition
                   payables pursuant to court order; as such, outstanding liabilities may have been
                   reduced by any court-approved postpetition payments made on account of
                   prepetition payables. Notwithstanding the Interim Order (I) Authorizing Debtors
                   to Pay Certain Prepetition Claims (A) Arising Under the Perishable Agricultural
                   Commodities Act, (B) To Critical Vendors and Service Providers, and (C) Arising
                   Under Section 503(B)(9) of the Bankruptcy Code; (II) Authorizing Banks to
                   Honor and Process Related Checks and Electronic Transfers; and (III) Granting
                   Related Relief [Docket No. 90] (the “Interim Critical Vendors/503(b)(9)/PACA
                   Order”), the amount due to the Debtors’ prepetition vendors may be scheduled at
                   the amount outstanding as of the Petition Date, regardless of whether such claims
                   have been settled and paid postpetition pursuant to the Interim Critical
                   Vendors/503(b)(9)/PACA Order. To the extent the Debtors later pay any amount
                   of the claims listed in the Schedules and Statements pursuant to any orders
                   entered by the Bankruptcy Court, the Debtors reserve all rights to amend or
                   supplement the Schedules and Statements or to take other action as is necessary
                   and appropriate to avoid overpayment or duplicate payments for liabilities.
                   Nothing contained herein should be deemed to alter the rights of any party in
                   interest to contest a payment made pursuant to an order of the Bankruptcy Court
                   where such order preserves the right to contest.

        k.         Intercompany Claims. Receivables and payables among the Debtors and among
                   the Debtors and their non-Debtor affiliates are reported on Schedule A/B and
                   Schedule E/F, respectively, per the Debtors’ books and records. The listing of
                   any amounts with respect to such receivables and payables is not, and should not


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                   be construed as, an admission of the characterization of such balances as debt,
                   equity, or otherwise.

        l.         Guarantees and Other Secondary Liability Claims. The Debtors have
                   exercised reasonable efforts to locate and identify guarantees in their executory
                   contracts, unexpired leases, secured financings, and other such agreements.
                   Where guarantees have been identified, they have been included in the relevant
                   Schedules G with respect to leases and Schedule H with respect to credit
                   agreements for the affected Debtor or Debtors. The Debtors may have
                   inadvertently omitted guarantees embedded in their contractual agreements and
                   may identify additional guarantees as they continue their review of their books
                   and records and contractual agreements. The Debtors reserve their rights to
                   amend the Schedules and Statements if additional guarantees are identified.

        m.         Excluded Assets and Liabilities. The Debtors have excluded the following
                   categories of assets and liabilities from the Schedules and Statements: certain
                   deferred charges, accounts, or reserves recorded only for purposes of complying
                   with the requirements of GAAP; deferred revenue accounts; and certain accrued
                   liabilities including, but not limited to, employee benefits. Other immaterial
                   assets and liabilities may also have been excluded.

        n.         Liens. The inventories, property and equipment listed in the Schedules and
                   Statements are presented without consideration of any liens.

        o.         Currency. Unless otherwise indicated, all amounts are reflected in U.S. dollars.

        p.         Setoffs. The Debtors routinely incur setoffs and net payments in the ordinary
                   course of business. Such setoffs and nettings may occur due to a variety of
                   transactions or disputes including, but not limited to, intercompany transactions,
                   counterparty settlements, pricing discrepancies, rebates, returns, warranties,
                   refunds, and negotiations and/or disputes between Debtors and their customers
                   and/or suppliers. These normal, ordinary course setoffs and nettings are common
                   to the restaurant industry. Due to the voluminous nature of setoffs and nettings, it
                   would be unduly burdensome and costly for the Debtors to list each such
                   transaction. Therefore, although such setoffs and other similar rights may have
                   been accounted for when scheduling certain amounts, these ordinary course
                   setoffs are not independently accounted for, and as such, are or may be excluded
                   from the Debtors’ Schedules and Statements. In addition, some amounts listed in
                   the Schedules and Statements may have been affected by setoffs or nettings by
                   third parties of which the Debtors are not yet aware. The Debtors reserve all
                   rights to challenge any setoff and/or recoupment rights that may be asserted.

5.      Specific Schedules Disclosures.

        a.         Schedule A/B, Parts 1 and 2 - Cash and Cash Equivalents; Deposits and
                   Prepayments. Details with respect to the Debtors’ cash management system and


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                   bank accounts are provided in the Motion of Debtors for Order under Sections
                   105, 345, 363, 364, 503, 1107 and 1108 of the Bankruptcy Code Authorizing (I)
                   Maintenance of Existing Bank Accounts; (II) Continuance of Existing Cash
                   Management System, Bank Accounts, Checks and Related Forms; (III) Continued
                   Performance of Intercompany Transactions; (IV) Limited Waiver of Section
                   345(B) Deposit and Investment Requirements and (V) Granting Related Relief
                   [Docket No. 11] (the “Cash Management Motion”) and any orders of the
                   Bankruptcy Court granting the Cash Management Motion. As described therein,
                   the Debtors utilize a centralized cash management system.

                   Additionally, the Bankruptcy Court, pursuant to the Interim Order (A) Approving
                   the Debtors’ Proposed Adequate Assurance of Payment for Future Utility
                   Services, (B) Prohibiting Utility Companies from Altering, Refusing, or
                   Discontinuing Services, (C) Approving the Debtors’ Proposed Procedures for
                   Resolving Adequate Assurance Requests, and (D) Granting Related Relief
                   [Docket No. 98], has authorized the debtors to provide adequate assurance of
                   payment for future utility services. Such deposits are not listed on Schedule A/B,
                   Part 2, which has been prepared as of the Petition Date.

        b.         Schedule A/B, Part 4 - Investments; Non-Publicly Traded Stock and Interests
                   in Incorporated and Unincorporated Businesses, including any Interest in an
                   LLC, Partnership, or Joint Venture. Ownership interests in subsidiaries have
                   been listed in Schedule A/B, Part 4, as undetermined amounts on account of the
                   fact that the fair market value of such ownership is dependent on numerous
                   variables and factors, and may differ significantly from their net book value.

        c.         Schedule A/B, Part 7 - Office Furniture, Fixtures, and Equipment; and
                   Collectibles. Dollar amounts are presented net of accumulated depreciation and
                   other adjustments.

        d.         Schedule A/B, Part 11 - All Other Assets. Dollar amounts are presented net of
                   impairments and other adjustments.

                   Other Contingent and Unliquidated Claims or Causes of Action of Every
                   Nature, including Counterclaims of the Debtor and Rights to Setoff Claims. In
                   the ordinary course of their businesses, the Debtors may have accrued, or may
                   subsequently accrue, certain rights to counter-claims, cross-claims, setoffs, or
                   refunds with their customers and suppliers. Additionally, certain of the Debtors
                   may be party to pending litigation in which the Debtors have asserted, or may
                   assert, claims as a plaintiff or counter-claims and/or cross-claims as a defendant.
                   Because certain of these claims are unknown to the Debtors and not quantifiable
                   as of the Petition Date, they may not be listed on Schedule A/B, Part 11.

        e.         Schedule D - Creditors Who Have Claims Secured by Property. Except as
                   otherwise agreed pursuant to the Interim Order (I) Authorizing Postpetition
                   Financing, (II) Authorizing Use of Cash Collateral, (III) Granting Liens and


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                   Providing Superpriority Administrative Expense Status, (IV) Granting Adequate
                   Protection, (V) Modifying Automatic Stay, (VI) Scheduling a Final Hearing, and
                   (VII) Granting Related Relief [Docket No. 103] (the “Interim DIP Order”), or
                   other stipulation or order entered by the Bankruptcy Court, the Debtors reserve
                   their rights to dispute or challenge the validity, perfection, or immunity from
                   avoidance of any lien purported to be granted or perfected in any specific asset to
                   a secured creditor listed on Schedule D. Moreover, although the Debtors have
                   scheduled claims of various creditors as secured claims, the Debtors reserve all
                   rights to dispute or challenge the secured nature of any such creditor's claim or the
                   characterization of the structure of any such transaction or any document or
                   instrument related to such creditor's claim.

                   The descriptions provided in Schedule D are intended only to be a summary.
                   Reference to the applicable agreements and other related relevant documents is
                   necessary for a complete description of the collateral and the nature, extent, and
                   priority of any liens. In certain instances, a Debtor may be a co-obligor, co-
                   mortgagor, or guarantor with respect to scheduled claims of other Debtors, and no
                   claim set forth on Schedule D of any Debtor is intended to acknowledge claims of
                   creditors that are otherwise satisfied or discharged by other entities.

                   The Debtors have not included on Schedule D parties that may believe their
                   claims are secured through setoff rights or inchoate statutory lien rights.
                   Although there are multiple parties that hold a portion of the debt included in the
                   secured facilities, only the administrative agents have been listed for purposes of
                   Schedule D.

                   Goldman Sachs Specialty Lending Group, L.P. (“GSS”) has filed UCC financing
                   statements against substantially all of the assets of all fifty-one (51) Debtors.
                   While the Debtors have listed the full amount of the GSS claims on each Schedule
                   D (total of $42.7M), this claim amount is to be allocated across all fifty-one (51)
                   Debtors.

        f.         Schedule E/F - Creditors Who Have Unsecured Claims.

                   Part 1 - Creditors with Priority Unsecured Claims. Pursuant to the Order
                   Authorizing the Payment of Prepetition Sales, Use and Franchise Taxes and
                   Similar Taxes and Fees [Docket No. 92] (the “Taxes Order”), the Debtors have
                   been granted the authority to pay, in their discretion, certain tax liabilities that
                   accrued prepetition.

                   Furthermore, pursuant to the Final Order Authorizing the Debtors to (I) Pay
                   and/or Honor Prepetition Wages, Salaries, Commissions, Incentive Payments,
                   Employee Benefits, and Other Compensation and Pay Temporary and Contract
                   Workers; (II) Remit Withholding Obligations and Deductions; (III) Maintain
                   Employee Compensation and Benefits Programs and Pay Related Administrative
                   Obligations; and (IV) Have Applicable Banks and Other Financial Institutions


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                   Receive, Process, Honor, and Pay Certain Checks Presented for Payment and
                   Honor Certain Fund Transfer Requests [Docket No. 279], the Debtors received
                   final authority to pay certain prepetition obligations, including to pay employee
                   wages and other employee benefits, in the ordinary course of business.

                   The listing of a claim on Schedule E/F, Part 1, does not constitute an admission
                   by the Debtors that such claim or any portion thereof is entitled to priority status.

                   Part 2 - Creditors with Nonpriority Unsecured Claims. The liabilities identified
                   in Schedule E/F, Part 2, are derived from the Debtors’ books and records. The
                   Debtors made a reasonable attempt to set forth their unsecured obligations,
                   although the actual amount of claims against the Debtors may vary from those
                   liabilities represented on Schedule E/F, Part 2. The listed liabilities may not
                   reflect the correct amount of any unsecured creditor's allowed claims or the
                   correct amount of all unsecured claims.

                   Schedule E/F, Part 2 reflects liabilities based on the Debtors’ consolidated books
                   and records. All of the known Schedule E/F, Part 2 liabilities as of the Petition
                   Date are listed on Schedule E/F, Part 2 of Ruby Tuesday, Inc. because that is the
                   entity that pays such obligations. However, the legal obligation to pay such debt
                   may reside at other Debtors. The listing of such liabilities on Schedule E/F, Part 2
                   of Ruby Tuesday, Inc. should not be construed as an admission that such
                   obligations are liabilities of Ruby Tuesday, Inc.

                   Schedule E/F, Part 2, contains information regarding threatened or pending
                   litigation involving the Debtors. The amounts for these potential claims are listed
                   as “unknown” and are marked as contingent, unliquidated, and disputed in the
                   Schedules and Statements.

                   Schedule E/F, Part 2, reflects certain prepetition amounts owing to counterparties
                   to executory contracts and unexpired leases. Such prepetition amounts, however,
                   may be paid in connection with the assumption or assumption and assignment of
                   an executory contract or unexpired lease. In addition, Schedule E/F, Part 2, does
                   not include claims that may arise in connection with the rejection of any
                   executory contracts or unexpired leases; provided, however, that claims relating to
                   leases of nonresidential real property were calculated as follows: (a) with respect
                   to claims related to locations that were open as of the Petition Date, the claim
                   amounts indicated are the Debtors’ calculation of unpaid rent as of that date and
                   are notated “RENT PAYABLE”; (b) with respect to claims related to locations
                   that were closed as of the Petition Date, (i) claims relating to locations that are the
                   subject of master leases consist of the Debtors’ calculation of unpaid rent as of the
                   Petition Date and are notated “PRE-PETITION RENT (FOR CLOSED
                   STORES)”; and (ii) claims relating to locations that are the subject of individual
                   leases consist of the Debtors’ calculation of the lessor’s potential claim up to the
                   ‘cap’ described in section 502(b)(6) of the Bankruptcy Code and are notated
                   “POTENTIAL CONTRACT REJECTION CLAIM.”


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                   As of the time of filing of the Schedules and Statements, the Debtors had not
                   received all invoices for payables, expenses, and other liabilities that may have
                   accrued prior to the Petition Date. Accordingly, the information contained in
                   Schedules D and E/F may be incomplete. The Debtors reserve their rights to
                   amend Schedules D and E/F if and as they receive such invoices.

        g.         Schedule G - Executory Contracts and Unexpired Leases. While reasonable
                   efforts have been made to ensure the accuracy of Schedule G, inadvertent errors
                   or omissions may have occurred.

                   Listing a contract or agreement on Schedule G does not constitute an admission
                   that such contract or agreement is an executory contract or unexpired lease or that
                   such contract or agreement was in effect on the Petition Date or is valid or
                   enforceable. The Debtors hereby reserve all of their rights to dispute the validity,
                   status, or enforceability of any contracts, agreements, or leases set forth in
                   Schedule G and to amend or supplement such Schedule as necessary. Certain of
                   the leases and contracts listed on Schedule G may contain renewal options,
                   guarantees of payment, indemnifications, options to purchase, rights of first
                   refusal and other miscellaneous rights. Such rights, powers, duties and
                   obligations are not set forth separately on Schedule G. In addition, the Debtors
                   may have entered into various other types of agreements in the ordinary course of
                   their business, such as supplemental agreements, amendments, and letter
                   agreement, which documents may not be set forth in Schedule G.

                   Certain of the agreements listed on Schedule G may have expired or terminated
                   pursuant to their terms, but are listed on Schedule G in an abundance of caution.

                   The Debtors reserve all rights to dispute or challenge the characterization of any
                   transaction or any document or instrument related to a creditor’s claim.

                   In some cases, the same supplier or provider may appear multiple times in
                   Schedule G. Multiple listings, if any, reflect distinct agreements between the
                   applicable Debtor and such supplier or provider.

                   The listing of any contract on Schedule G does not constitute an admission by the
                   Debtors as to the validity of any such contract. The Debtors reserve the right to
                   dispute the effectiveness of any such contract listed on Schedule G or to amend
                   Schedule G at any time to remove any contract.

                   Omission of a contract or agreement from Schedule G does not constitute an
                   admission that such omitted contract or agreement is not an executory contract or
                   unexpired lease. The Debtors’ rights under the Bankruptcy Code with respect to
                   any such omitted contracts or agreements are not impaired by the omission.

6.      Specific Statements Disclosures.


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        a.         Statements, Part 2, Questions 3 and 4 - Payments to Certain Creditors. Prior
                   to the Petition Date, the Debtors maintained a centralized cash management
                   system. Consequently, all payments to creditors and insiders listed in response to
                   Questions 3 and 4 on each of the Debtors’ Statements reflect payments made on a
                   consolidated basis pursuant to the Debtors’ cash management system described in
                   the Cash Management Motion and are listed on the Statements of Ruby Tuesday,
                   Inc.

        b.         Statements, Part 2, Question 6 - Setoffs. For a discussion of setoffs and
                   nettings incurred by the Debtors, refer to paragraph 4(p) of these Global Notes.

        c.         Statements, Part 6, Question 11 - Payments Related to Bankruptcy. Question
                   11 on all Statements reflects payments to professionals made on a consolidated
                   basis from Ruby Tuesday, Inc. The Debtors believe that it would be an inefficient
                   use of the assets of the Debtors’ estates for the Debtors to allocate these payments
                   on a Debtor-by-Debtor basis.

        d.         Statements, Part 13, Question 27 - Inventories. The Debtors take inventory of
                   product at their various store locations on a regular basis. In an effort to reduce
                   the amount of disclosures that would be otherwise applicable disclosures that
                   could name numerous store-level managers, the Debtors have only listed the
                   person who has had possession of the inventory records in response to Statements,
                   Part 13, Question 27. Additionally, because the Debtors’ typical practice is to
                   value existing inventory at their warehouses on a daily cycle count basis, the
                   value for purposes of Statements, Part 13, Question 27 is listed as of the date
                   indicated and not necessarily when an inventory was conducted.


        e. Statements, Part 2, Question 4 and Part 13, Question 30 - Payments,
           Distributions, or Withdrawals Credited or Given to Insiders. Distributions by the
           Debtors to their directors and officers are listed on the attachment to Questions 4 and
           30 at Ruby Tuesday, Inc. Certain of the Debtors’ directors and executive officers
           received distributions net of tax withholdings in the year preceding the Petition Date.
           The amounts listed under Questions 4 and 30 reflect the gross amounts paid to such
           directors and executive officers, rather than the net amounts after deducting for tax
           withholdings.




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Fill in this information to identify the case:

Debtor        RTBD, LLC


United States Bankruptcy Court for the: District of Delaware


Case number         20-12461
 (if known)
                                                                                                                                        ¨ Check if this is an
                                                                                                                                            amended filing

Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                    04/19

The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).




 Part 1:         Income
  1. Gross revenue from business
      þ None


  2. Non-business revenue
     Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected
     from lawsuits, and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.
      þ None


 Part 2:         List Certain Transfers Made Before Filing for Bankruptcy

  3. Certain payments or transfers to creditors within 90 days before filing this case
     List payments or transfers¾including expense reimbursements¾to any creditor, other than regular employee compensation, within 90 days
     before filing this case unless the aggregate value of all property transferred to that creditor is less than $6,825. (This amount may be adjusted
     on 4/1/22 and every 3 years after that with respect to cases filed on or after the date of adjustment.)
      þ None


  4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
     List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or
     guaranteed or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than
     $6,825. (This amount may be adjusted on 4/1/22 and every 3 years after that with respect to cases filed on or after the date of adjustment.)
     Do not include any payments listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their
     relatives; general partners of a partnership debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing
     agent of the debtor. 11 U.S.C. § 101(31).
      þ None

  5. Repossessions, foreclosures, and returns
     List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor,
     sold at a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.
      þ None


  6. Setoffs
     List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an
     account of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the
     debtor owed a debt.
      þ None


 Part 3:         Legal Actions or Assignments

  7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
     List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was
     involved in any capacity-within 1 year before filing this case.
      þ None




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 8. Assignments and receivership
    List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the
    hands of a receiver, custodian, or other court-appointed officer within 1 year before filing this case.
     þ None


 Part 4:     Certain Gifts and Charitable Contributions

 9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate
    value of the gifts to that recipient is less than $1,000
     þ None


 Part 5:     Certain Losses

 10. All losses from fire, theft, or other casualty within 1 year before filing this case.
     þ None


 Part 6:     Certain Payments or Transfers

 11. Payments related to bankruptcy
     List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the
     filing of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking
     bankruptcy relief, or filing a bankruptcy case.
     þ None

 12. Self-settled trusts of which the debtor is a beneficiary
     List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of
     this case to a self-settled trust or similar device.
     Do not include transfers already listed on this statement.
     þ None

 13. Transfers not already listed on this statement
     List any transfers of money or other property¾by sale, trade, or any other means¾made by the debtor or a person acting on behalf of the
     debtor within 2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or
     financial affairs.
     Include both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.
     þ None


 Part 7:     Previous Locations

 14. Previous addresses
     List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.
     þ Does not apply


 Part 8:     Health Care Bankruptcies

 15. Health Care bankruptcies
     Is the debtor primarily engaged in offering services and facilities for:
     ¾ diagnosing or treating injury, deformity, or disease, or
     ¾ providing any surgical, psychiatric, drug treatment, or obstetric care?
     þ No. Go to Part 9.


 Part 9:     Personal Identifiable Information

 16. Does the debtor collect and retain personally identifiable information of customers?
     þ No.
     ¨ Yes. State the nature of the information collected and retained.




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 17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other
     pension or profit-sharing plan made available by the debtor as an employee benefit?
     þ No. Go to Part 10.
     ¨ Yes. Does the debtor serve as plan administrator?
                þ No. Go to Part 10.
                ¨ Yes. Fill in below:



 Part 10:     Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

 18. Closed financial accounts
     Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed,
     sold, moved, or transferred?
     Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage
     houses, cooperatives, associations, and other financial institutions.
     þ None

 19. Safe deposit boxes
     List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing
     this case.
     þ None

 20. Off-premises storage
     List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a
     building in which the debtor does business.
     þ None


 Part 11:     Property the Debtor Holds or Controls That the Debtor Does Not Own

 21. Property held for another
     List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in
     trust. Do not list leased or rented property.
    þ None


 Part 12:     Details About Environmental Information

 For the purpose of Part 12, the following definitions apply:
 n Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material,
    regardless of the medium affected (air, land, water, or any other medium).
 n Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the
    debtor formerly owned, operated, or utilized.
 n Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant,
    contaminant, or a similarly harmful substance.
 Report all notices, releases, and proceedings known, regardless of when they occurred.

 22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and
     orders.
     þ No
     ¨ Yes. Provide details below.

 23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
     environmental law?
     þ No
     ¨ Yes. Provide details below.

 24. Has the debtor notified any governmental unit of any release of hazardous material?
     þ No
     ¨ Yes. Provide details below.


 Part 13:     Details About the Debtor’s Business or Connections to Any Business




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 25. Other businesses in which the debtor has or has had an interest
     List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
     Include this information even if already listed in the Schedules.
     ¨ None

          Business name and address                Describe the nature of the business                  Employer Identification number
                                                                                                        Do not include Social Security number or ITIN.
          RT FINANCE, LLC                          RESTAURANT                                           XX-XXXXXXX
          333 EAST BROADWAY AVE                                                                         Date business existed
          MARYVILLE, TN 37804
                                                                                                        From: 5/13/2004      To: CURRENT
          RT FRANCHISE ACQUISITION,                RESTAURANT                                           XX-XXXXXXX
          LLC                                                                                           Date business existed
          333 EAST BROADWAY AVE
          MARYVILLE, TN 37804                                                                           From: 3/1/2000       To: CURRENT

          RT KENTUCKY RESTAURANT                   RESTAURANT                                           XX-XXXXXXX
          HOLDINGS, LLC                                                                                 Date business existed
          333 EAST BROADWAY AVE
          MARYVILLE, TN 37804                                                                           From: 5/16/2002      To: CURRENT

          RT MINNEAPOLIS HOLDINGS, LLC             RESTAURANT                                           XX-XXXXXXX
          333 EAST BROADWAY AVE                                                                         Date business existed
          MARYVILLE, TN 37804
                                                                                                        From: 5/29/2001      To: CURRENT
          RT NEW HAMPSHIRE                         RESTAURANT                                           XX-XXXXXXX
          RESTAURANT HOLDINGS, LLC                                                                      Date business existed
          333 EAST BROADWAY AVE
          MARYVILLE, TN 37804                                                                           From: 5/16/2002      To: CURRENT

          RT OMAHA HOLDINGS, LLC                   RESTAURANT                                           XX-XXXXXXX
          333 EAST BROADWAY AVE                                                                         Date business existed
          MARYVILLE, TN 37804
                                                                                                        From: 2/15/2002      To: CURRENT
          RTTA, LP                                 RESTAURANT                                           XX-XXXXXXX
          333 EAST BROADWAY AVE                                                                         Date business existed
          MARYVILLE, TN 37804
                                                                                                        From: 3/1/2005       To: CURRENT

 26. Books, records, and financial statements
     26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
            ¨ None

              Name and address                                                                     Dates of service

              ALBERT LEE                                                                           From 3/26/2020             To 8/21/2020
              THE SIEGFRIED GROUP LLP
              1201 N MARKET ST STE 700
              WILMINGTON, DE 19801
              BRAD PETTY                                                                           From 1/9/2019              To 4/10/2020
              FORMER EMPLOYEE
              333 EAST BROADWAY AVE
              MARYVILLE, TN 37804
              BRIAN JUDGE                                                                          From 7/15/2019             To 3/6/2020
              FORMER EMPLOYEE
              333 EAST BROADWAY AVE
              MARYVILLE, TN 37804
              CHARLIE DEBBRECHT, RYAN SCHWERDTFEGER, & REESA MAY                                   From 4/10/2019             To CURRENT
              INFOSYNC
              1938 N. WOODLAWN, SUITE 110
              WICHITA, KS 67208
              MICHAEL DORSEY                                                                       From 7/17/2020             To CURRENT
              HREI INC
              2307 FENTON PKWY #107-245
              SAN DIEGO, CA 92108
              RAFAEL BEVERIDO                                                                      From 3/3/2020              To 7/16/2020
              THE SIEGFRIED GROUP LLP
              1201 N MARKET ST STE 700
              WILMINGTON, DE 19801
              REBECCA MONTANGE MARTIN                                                              From 4/4/2018              To 1/22/2019
              FORMER EMPLOYEE
              333 EAST BROADWAY AVE
              MARYVILLE, TN 37804



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     26b.     List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial
              statement within 2 years before filing this case.
              ¨ None

                Name and address                                                                        Dates of service

                AON CONSULTING INC.                                                                     From JAN 2005              To PRESENT
                ATTN RICH A WALSH
                1100 REYNOLDS BLVD
                WINSTOM SALEM, NC 27105
                CITRIN COOPERMAN & COMPANY, LLP                                                         From JAN 2019              To PRESENT
                529 FIFTH AVE
                NEW YORK, NY 10017
                CROWE LLP                                                                               From OCT 2011              To PRESENT
                ATTN REBECCA JORDAN
                2095 LAKESIDE CENTRE WAY, STE 125
                KNOXVILLE, TN 37922-6647
                INFOSYNC SERVICES LLC                                                                   From FEB 2019              To PRESENT
                ATTN DALE HOYER, CEO
                1938 N WOODLAWN, STE 110
                WICHITA, KS 67208
                KPMG LLP                                                                                From DEC 1999              To MAR 2019
                PO BOX 120608
                DEPT 0608
                DALLAS, TX 75312
                LBMC, PC                                                                                From MAR 2018              To PRESENT
                PO BOX 1869
                BRENTWOOD, TN 37024
                REBIS LLC                                                                               From AUG 2020              To PRESENT
                D/B/A PROPERTY WORKS
                ATTN KIMBERLY FINNEGAN
                DECATUR, GA 30030
                THE AEGIS GROUP, LLC                                                                    From APR 2012              To PRESENT
                1102 18TH AVE SOUTH
                NASHVILLE, TN 37212
                THE SIEGFRIED GROUP                                                                     From FEB 2020              To PRESENT
                ATTN WILLIAM J ULRICH, VP
                1201 N MARKET ST, STE 700
                WILMINGTON, DE 19801

     26c.     List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.
              ¨ None

                Name and address                                                                        If any books of account and records are
                                                                                                        unavailable, explain why
                CHARLIE DEBBRECHT, RYAN SCHWERDTFEGER, & REESA MAY
                INFOSYNC
                1938 N. WOODLAWN, SUITE 110
                WICHITA, KS 67208
                MICHAEL DORSEY
                HREI INC
                2307 FENTON PKWY #107-245
                SAN DIEGO, CA 92108

     26d.     List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
              statement within 2 years before filing this case.
              ¨ None

                Name and address

                AEGIS GROUP, LLC
                ATTN RANDALL H ANTHONY
                1102 18TH AVE SOUTH
                NASHVILLE, TN 37212
                CITRIN COOPERMAN & COMPANY, LLP
                529 FIFTH AVE
                NEW YORK, NY 10017
                ESSENTIAL
                902 CARNEGIE CENTER BLVD
                STE 520
                PRINCETON, NJ 8540


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              Name and address

              GOLDMAN SACHS SPECIALTY LENDING GROUP, L.P.
              2001 ROSS AVENUE, SUITE 2800
              DALLAS, TX 75201
              KPMG LLP
              PO BOX 120754
              DEPT 0754
              DALLAS, TX 75312
              MARSH & MCLENNAN & COMPANIES
              6160 GOLDEN HILLS DR
              MINNEAPOLIS, MN 55416
              NATIONAL RETAIL PROPERTIES LP
              450 S ORANGE AVE
              STE 900
              ORLANDO, FL 32801
              NRD CAPITAL
              ATTN AZIZ HASHIM
              4170 ASHFORD DUNWOODY RD, STE 390
              STE 390
              ATLANTA, GA 30319
              NRD RT30
              ATTENTION: MANAGER
              4170 ASHFORD DUNWOODY ROAD
              STE 390
              ATLANTA, GA 30319
              OHIO DEPARTMENT OF REVENUE
              4485 NORTHLAND RIDGE BLVD
              COLUMBUS, OH 43229
              ORION INVESTMENT AND MGMT LTD. CORP
              200 S. BISCAYNE BLVD., 7TH FL
              ATTN: KEVIN SANZ
              MIAMI, FL 33131
              ORION NRD RUBY JV LLC
              200 SOUTH BISCAYNE BLVD 7TH FL
              C/O ORION INVESTMENT MGMT
              MIAMI, FL 33131
              PENNSYLVANIA DEPARTMENT OF REVENUE
              PO BOX 280414
              HARRISBURG, PA 17128
              PENSION BENEFIT GUARANTY CORP
              DIR. CORP. FINANCE & NEGOTIATION DEPT.
              1200 K STREET NW
              WASHINGTON, DC 20005
              PFG CUSTOMIZED DISTRIBUTION
              245 NORTH CASTLE HEIGHTS AVE
              LEBANON, TN 37087
              STORE CAPITAL
              8377 E HARTFORD DR STE 100
              SCOTTSDALE, AZ 85255
              TCW DIRECT LENDING LLC
              200 CLARENDON ST, 51ST FL
              BOSTON, MA 2116
              TCW DL VI FUNDING I LLC
              200 CLARENDON ST, 51ST FL
              BOSTON, MA 2116
              TWC SERVICES
              2601 BELL AVENUE
              DES MOINES, IA 50321
              ZIONSBANCORPORATION, N.A.
              DBA CALIFORNIABANK & TRUST
              ATTN: RONALD WON
              2399 GATEWAY OAKS DR., SUITE 110
              SACRAMENTO, CA 95833

 27. Inventories
     Have any inventories of the debtor’s property been taken within 2 years before filing this case?
     þ None




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 28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other
     people in control of the debtor at the time of the filing of this case.
     ¨ None

          Name                                Address                                            Position and nature of any       % of interest, if any
                                                                                                 interest
          AZIZ HASHIM                         333 EAST BROADWAY AVE                              PRESIDENT, VICE
                                              MARYVILLE, TN 37804                                PRESIDENT AND
                                                                                                 SECRETARY
          RUBY TUESDAY, INC.                  333 EAST BROADWAY AVE                              MEMBER                           100
                                              MARYVILLE, TN 37804
          SHAWN LEDERMAN                      333 EAST BROADWAY AVE                              CHIEF EXECUTIVE
                                              MARYVILLE, TN 37804                                OFFICER
          STEPHANIE MEDLEY                    333 EAST BROADWAY AVE                              CHIEF STRATEGY
                                              MARYVILLE, TN 37804                                OFFICER

 29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members
     in control of the debtor, or shareholders in control of the debtor who no longer hold these positions?
     ¨ None

         Name                               Address                                       Position and nature       Period during which position or
                                                                                          of any interest           interest was held
         BRIAN JUDGE                        5833 MILNE BLVD                               CHIEF FINANCIAL           From 7/15/2019 To 3/6/2020
                                            NEW ORLEANS, LA 70124                         OFFICER

         RAFAEL BEVERIDO                    1201 N MARKET ST STE 700                      CFO - INTERIM             From 3/3/2020       To 7/16/2020
                                            WILMINGTON, DE 19801

 30. Payments, distributions, or withdrawals credited or given to insiders
     Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws,
     bonuses, loans, credits on loans, stock redemptions, and options exercised?
     þ None

 31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?
     ¨ None

          Name of the parent corporation                                                       Employer identification number of the parent
                                                                                               corporation.

          Taxes are filed under consolidated entity "RTI Holding Company LLC &                 XX-XXXXXXX
          Subsidiaries"

 32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?
     þ None




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 Part 14:      Signature and Declaration

         WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property
         by fraud in connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
         18 U.S.C. §§ 152, 1341, 1519, and 3571.

         I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the
         information is true and correct.

         I declare under penalty of perjury that the foregoing is true and correct.

         Executed on 11/16/2020.




         û     /s/ Shawn Lederman                                                     Shawn Lederman
            Signature of individual signing on behalf of the debtor                   Printed Name

              Chief Executive Officer
              Position or relationship to debtor




         Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
         þ No
         ¨ Yes




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